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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Infinity Capital Management, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Infinity Health Connections
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1700 W Horizon Ridge Pkwy #206
                                  Henderson, NV 89012
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.infinityhealth.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Infinity Capital Management, Inc.                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Infinity Capital Management, Inc.                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




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Infinity Capital Management, Inc.
                                          Doc 1Revenue
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                                                       Service
                                                                             Page  8 of 9
                                                                                  County Treasurer
1700 W Horizon Ridge Pkwy #206          Attn: Bankruptcy Dept/Managing Agent       c/o Bankruptcy Clerk
Henderson, NV 89012                     P.O. Box 7346                              500 S. Grand Central Pkwy
                                        Philadelphia, PA 19101                     P.O. Box 551220
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                                                                                   Las Vegas, NV 89155

Clark County Assessor                   Dept. of Empl, Training & Rehab            Nevada Dept. of Taxation
c/o Bankruptcy Clerk                    Employment Security Division               Bankruptcy Section
500 S. Grand Central Pkwy               500 East Third Street                      555 E. Washington Avenue #1300
Box 551401                              Carson City, NV 89713                      Las Vegas, NV 89101
Las Vegas, NV 89155

Social Security Administration          Century Link                               Claus Nissen
Attn: Bankruptcy Desk/Managing Agent    Attn: Managing Member                      Hugo-Distler Strasse 64
PO Box 33021                            100 CenturyLink Drive                      D-90411 Nuernberg, Germany
Baltimore, MD 21290-3021                P.O. Box 4065, Monroe, LA


Coastal Investments PLC                 Cox Internet                               Daniel P. Nicholas
Attn: Managing Member                   Attn: Managing Member                      3842 N. Southport Ave. Apt. M
P.O. Box 11, ANZ House                  1700 Vegas Drive                           Chicago, IL 60613-6226
Avarua, Rarotonga, Cook Islands         Las Vegas, NV 89106


Dynamic Legal Recovery                  FTM Ltd                                    Gregory M Cash
Attn: Managing Member                   Attn: Managing Member                      Tyringa Road
25600 Rye Canyon Road #209              PO Box 316, Port Vila                      Port Kenney, SA 5671, Australia
Valencia, CA 91355                      First Floor, Law Partners House-Lini Hig
                                        Efate, Vanuatu

HASelect-FTM Medical Receivables        HealthPlus Imaging of Texas, LLC           Imtisal Khuri
Litigation Finance Fund SP              Attn: Managing Member
c/o HedgeACT Int'l SPC, Ltd.            9000 Southwest Freeway, Suite 250
403 South La Grange Rd.                 Houston, TX 77074
La Grange, IL 60525

Infinity Centers United                 Infinity Diagnostics, LLC dba Prestige M   Jennifer de Bono
Attn: Managing Member                   Attn: Managing Member                      89 Southfork Drive
3310 Edloe Street                       3310 Edloe Street                          Glenning Valley, NSW 2261, Australia
Houston, TX 77027                       Houston, TX 77027


John & Karen Laub                       Judy L. Trent                              Kabbage
9501 Royal Windsor Avenue               9724 Camden Hills Ave                      Attn: Managing Member
Las Vegas, NV 89149                     Las Vegas, NV 89145                        730 Peachtree Street NE, Suite 110
                                                                                   Atlanta, GA 30308


Luke de Bono                            Matt Valenti                               Max Oram
89 Southfork Drive                      1651 S. Victoria Ave.                      1840 Ulan Road
Glenning Valley, NSW 2261, Australia    Los Angeles, CA 90019                      Mudgee, NSM 2850, Australia



NV Energy                               Rent-MDL Group                             Robin W. Smith
Attn: Managing Member                   Attn: Managing Member                      12 Estuary Court
P.O. Box 98910                          5960 South Jones Boulevard                 Twin Waters, QLD 4564, Australia
Las Vegas, NV 89151-0001                Las Vegas, NV 89118
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Tecumseh Alternatives, LLC
                                            1 Entered 09/14/21 16:27:37 Griffin
                                         Injury Specialists, LLC
                                                                         PageAsset
                                                                                9 of 9Management LLC
Attn: Managing Member                Attn: Managing Member               Attn: Michael E. Griffin
5668 Morris Hunt Drive               270 Carpenter Drive, Suite 300      230 Park Ave.
Fort Mill, SC 29708                  Sandy Springs, GA 30328             10th Floor, Suite 61
                                                                         New York, NY 10169

HASelect-FTM Medical Receivables     HASelect-FTM Medical Receivables
Litigation Finance Fund SP           Litigation Finance Fund, SP
c/o Thomas C. Cronin                 c/o John N. Hourihane, Jr.
120 N. LaSalle St., 20th Floor       120 N. LaSalle St., 20th Floor
Chicago, IL 60602                    Chicago, IL 60602
